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CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

Criminal Number 1°29-1i-0062-<MF-1

 

Vs.

DAVID BALL
(Defendant)

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

|_| FEDERAL PUBLIC DEFENDER

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PLEASE PRINT THE FOLLOWING INFORMATION:

 

[] cua RETAINED

David Benowitz DC Bar 451557

(Attorney & Bar ID Number)
Price Benowitz LLP

 

 

 

 

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